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                           UNITED STATES DISTRICT COURT

                              DISTRICT OF MASSACHUSETTS



SECURITIES AND EXCHANGE                               Civil Action No. 17-cv-11633
COMMISSION,

                       Plaintiff,

        v.

NAVELLIER & ASSOCIATES, INC. and
LOUIS NAVELLIER,

                       Defendants




        DEFENDANTS’ MEMORANDUM IN SUPPORT OF MOTION TO STAY
       ENFROCEMENT OF FINAL JUDGMENT OR TO REDUCE AMOUNT OF
                         SUPERSEDEAS BOND


       Defendants Navellier & Associates, Inc. and Louis Navellier request this Court to stay

enforcement of the Final Judgment (DKT#285) and to reduce the amount of the supersedeas

bond in light of today’s United States Supreme Court decision in Liu v. SEC 591 U.S.___ (2020)

a copy of which Slip Opinion is attached hereto as Exhibit 1. A stay is necessary so the SEC is

enjoined from proceeding with its Administrative Proceedings File No. 3-19826 (which it filed

on June 12, 2020) (Exhibit 3) pending appeal as to the propriety of this Court’s summary

judgment and Final Judgment. The SEC’s Administrative Proceeding is based on the injunction

against future violations of §206(1) and (2) which this Court issued but which the Court of


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Appeals likely will find was erroneously awarded because there was no 206(1) or 206(2)

violations by Defendants.

       Moreover, a stay of enforcement of the $28,964,571 disgorgement and prejudgment

interest award is necessary because that disgorgement award or at the least the amount of it will

likely be overturned in light of today’s Supreme Court decision in Liu which requires that a

securities law violator’s disgorgement must be limited to the net profits from wrongdoing after

an accounting of both receipts and payments by the alleged violator are taken into account Id

Slip Op p.10-12. Only net profits received directly as a result of wrongdoing are disgorgeable.

Net profits that were not earned from wrongdoing are disgorgeable to the “victims.” Thus, none

of the $14 million for NAI’s sale of its goodwill to F-Squared is disgorgeable because the NAI

client “victims” were not harmed so there is no amount of the $14 million that is necessary to

benefit the clients for “harm” to them, i.e., to return to the status quo. With disgorgement further

limited to only the culpable actors. In this case disgorgement must be limited to zero as the

amount necessary to benefit investors because they received back all their money and received

$278 million in profits.

       As disclosed in confidential financial statements and documents to be filed under seal

tomorrow or after a seal order is obtained, Defendants do not have the financial assets to obtain a

$32 million supersedeas bond. They were attempting to obtain a $2.8 million to $3 million

supersedeas bond (before the Liu decision was issued today) which is the maximum bond they

could obtain. Defendants’ counsel had been attempting to reach an agreement and believed he

had an agreement with counsel for the SEC on a $2.8 to $3 million bond but learned on Friday

June 19, 2020 that the SEC would not as yet agree to such a bond. Counsel were still negotiating

to reach an agreement whereby the SEC might agree to a supersedeas bond in an amount that



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could be obtained by providing to the bonding company $3 million in cash or cash equivalent

before today’s Liu v. SEC decision. Liu makes it clear that the maximum “digorgement”, if any,

would be $25,000 so the bond would be $27,500. The parties are still negotiating to reach such

an agreement. Defendants will post a $27,500 bond which should also stay enforcement of the

permanent injunction portion of the Final Judgment.



                                          Temporary Stay

       While the parties continue to negotiate the stay and amount of the bond and while this

motion is pending, Defendants request this Court to extend the stay of enforcement beyond July

2, 2020 in order for this Court, or, if necessary, the First Circuit Court of Appeals to rule on this

stay/bond motion.

       A temporary stay would extend the present stay of enforcement set to expire on July 2,

2020, so the parties could continue to attempt to reach agreement on the amount of a supersedeas

bond, if any, especially in light of today’s Liu v. SEC decision. A stay will allow all parties’

interests to be protected (especially with Defendants’ agreement to an asset restriction agreement

(Exhibit 7) and the status quo is preserved while the appeal is being decided.

       Defendants do not have the assets to procure a bond in excess of $2.8 million to $3

million, and any bond should be limited to the disgorgeable amount, if any, when applying the

correct directions given by the Supreme Court in Liu for calculating the amount of disgorgement.

The maximum amount of “net profit” disgorgement would be $24,628. (DKT#278, p. 7, ¶’s 8-11

and schedule p. 12, a copy of which is attached as Exhibit 2). If a stay of enforcement is not

granted with a reduced supersedeas bond, Defendants may have their assets unjustly enforced

against based on a judgment that likely incorrect, especially in light of Liu. Defendants probably



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will be irreparably and unjustly put out of business or forced into bankruptcy and unjustly lose

their assets without an opportunity to appeal or overturn the Final Judgment if a stay and reduced

bond of $27,500 is not granted.



                       Stay of Final Judgment Injunction- Irreparable Harm

       The SEC has already begun enforcing the permanent injunction portion of the Final

Judgment. On June 3, 2020 SEC counsel contacted counsel for the Cavalier Fund, a mutual fund

client of Defendants, and indicated that, in the SEC’s view, the effect of the permanent

injunction portion of the Final Judgment triggered section 9b of the Investment Company Act

which in the SECs view precluded the Cavalier Fund from continuing to retain NIA as its

investment sales adviser. (Exhibit 4 is a true and correct copy of SECs counsel’s email sent to

counsel for Starboard). Defendants disagreed with the SEC’s position, but the Cavalier Fund did

not want to become embroiled in a dispute with the SEC and the SEC possibly bringing

enforcement action against it and its employees and or agents, so it reluctantly terminated NAI

(and Mr. Navellier) as investment sub-adviser effective June 15, 2020. (Exhibit 5). Starboard’s

counsel held out the possibility of reinstating Defendants if a stay or clarification of the Final

Judgment could be obtained, indicating that the Final Judgment did not preclude Defendants

from continuing to be investment advisers to mutual funds pending appeal.

       The SEC has also contacted another client of Defendants, AAM, a unit investment trust

provider, asserting the same section 9b prohibition which also threatens to terminate Defendants’

business relationship with AAM. Also Defendants have been contacted by other clients who

have indicated that they were told the SEC has said that it is going to ‘shut NAI and LN down

within a week’ to prevent them from providing investment advice to all of Defendants’


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investment advisory clients, not just mutual fund clients. The SEC is seeking self-help to put

Defendants out of business before a decision by the Court of Appeals can be rendered, thereby

making the Final Judgment a fait accompli without an opportunity to effectively review it on

appeal.

          The SEC has employed this tactic, using the injunction against future violations of the

securities laws, as grounds to coerce clients and potential clients to cease doing business with an

investment adviser even while an appeal from the judgment is pending, and to further destroy the

investment adviser’s business by instituting administrative proceedings to terminate the advisers’

registration as an investment adviser while an appeal is pending. Steadman v. SEC 798 F. Supp.

733, 748 (D.D.C. 1991)

          In Steadman the SEC obtained a judgment that the investment adviser violated Rule 10b-

5 and §§206(1) and (2) of the Investment Advisers Act. As part of the Final Judgment the

District Court permanently enjoined the investment adviser from violating §§206(1) and (2) in

the future. The SEC was also about to initiate follow-on administrative proceedings to deregister

the investment adviser, even though the investment adviser had appealed. The investment adviser

moved the district court to stay enforcement of the injunction pending appeal. The district court

granted the stay pending appeal, holding:

                                 Defendants argue that, pursuant to Section
                         9(a) of the Investment Company Act of 1940… an
                         injunction will force defendants to terminate their
                         investment-advisory business… The SEC is
                         considering pursuing administrative proceedings…
                         that would bar them from acting as transfer agents.
                                 The SEC’s contentions that defendants will
                         not be severely injured by this injunction and that the
                         public will be harmed by a stay, are not convincing.
                         Defendants, who have served as investment advisors
                         and transfer agents in the mutual fund industry for
                         decades, will be seriously injured…[by] a bar… That

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                        injury will be irreparable because, once defendants
                        are shut out of the industry, it is doubtful that, should
                        the injunction be lifted, they would be able to regain
                        positions in the industry they hold today.

       Defendants’ loss or threatened loss of substantial business during the pendency of an

appeal will cause irreparable harm which Defendants may not be able to recoup. Florida

Businessmen for Free Enterprise v. City of Hollywood 648 F2d. 956, 958 n. 2 & 3 (5th Cir. 1981)

(and cases cited therein); Doran v. Salem Inn, Inc., 422 U.S. 922, 932, 95 S. Ct. 2561, 2568, 45

L. Ed.2d 648, 660 (1975); [possible bankruptcy without a stay].




        A Stay Will Benefit, Not Harm, Other Parties Interested In The Proceedings

       A stay will not substantially harm the other parties, which is a factor which weighs in

favor of a stay. Without a stay, NAI’s twenty-five employees will lose their jobs, especially in

the middle of the Covid-19 pandemic. The Cavalier Fund investors who have received years of

satisfactory investment advisory services will lose Defendants’ unique, proprietary investment

advice which clients have chosen, and may suffer immediate adverse tax consequences if

Defendants are enjoined from providing them without advise and they have to redeem and obtain

a new investment adviser. Defendants may have to file for bankruptcy, so Appellants’ other

longstanding clients will lose their chosen investment advisers and unique investment skills.

Other of Defendants’ creditors could have their collateral made insecure or lost.

       The SEC on the other hand would not be substantially harmed. There is no need for

immediate enforcement. The SEC has known about the alleged “violations” since 2013, but did

not file this action until August 31, 2017. It agreed to settle this case, knowing all the “facts” it

asserts now, for $714,690 and with no injunction or ban against either NAI or Mr. Navellier. The

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alleged violations were not substantial. The alleged misstatements were not material. NAI clients

made $278 million in profits from Defendants’ Vireo AlphaSector investment advice. They were

not harmed.

        A stay will also benefit the SEC by keeping Defendants solvent so if, in the unlikely

event the SEC prevails on appeal, there will be an equal or greater amount of assets available to

collect against. Acevedo-Garcia v. Vera Monroig 296 F.3d 13, 17 (1st Cir. 2002).



                     Public Interest Lies In A Stay Of The Final Judgment

        The slight risk to the public and clients that Appellants will violate 206(1) or 206(2) (they

didn’t) while the appeal is pending is “acceptable”. Steadman supra 198 F. Supp. at 748.




   I.      THE AMOUNT OF A SUPERSEDEAS BOND SHOULD BE REDUCED TO
           $27,500

        This Court has discretion to waive or reduce the amount of the supersedeas bond below

110% of the judgment. Local Rule 62.2; Acevedo-Garcia v. Vera Monroig 296 F.3d 13, 17 (1st

Cir. 2002) [“nature and amount of bond is entrusted to the discretion of the trial court.”];

Cardiaq Valve Technologies v. Neovasc Inc. 2016 WL 8710447 at *2 (D. Mass. Dec. 2, 2016);

Athridge v. Iglesias 464 F. Supp.2d 19, 24-25 (D. D.C. 2006); Finova Capital Corp. v. Arledge,

Inc. WL 828504 at *5 (D. Ariz. March 26, 2008); Albert Sauter Company Inc. v. Richard Sauter

Company, Inc. 368 F. Supp. 501 (E.D. Pa. 1973). A factor a court considers in waiving or

reducing the bond is if the defendant doesn’t have the financial assets to pay the judgment or

obtain a full judgment and the bond would put defendants’ other creditors in undue jeopardy.

Acevedo supra 296 F.3d at 17. As set forth in the accompanying Declaration of Louis Navellier

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to be filed under seal, and financial statements to be submitted under seal, neither NAI or he

have the assets or financial capability to obtain a $32 million supersedeas bond or anything near

that amount. Defendants can obtain a $27,500 bond and were, prior to todays Liu decision, in the

process of applying to attempt to obtain the largest bond they can.

a. Mr. Navellier is married and has been for more than 25 years. He resides in Florida with his

   wife and holds his Florida residence and all other real estate and financial accounts as tenants

   by the entirety with his wife. His wife is not a judgment debtor in this case and does not

   consent to have their tenants by the entirety assets available to satisfy Mr. Navellier’s or

   NAI’s debts. Therefore, those assets which are held as tenants by the entirety are not

   “disgorgeable” or available for enforcement by the SEC. Securities and Exchange

   Commission v. Yun 208 F. Supp.2d 1279, 1284 (M.D. Fla 2002); [“Yun owns her home with

   her husband as a tenant by the entirety. Under Florida state law, one spouse cannot alienate

   or encumber the estate without the consent of the other. Sitomer v. Orlan 660 So.2d 1111,

   1113 (Fla Ct. Ap 1995). Thus, Yun does not solely own her home or have the sale power to

   encumber it. The Court declines to force Yun to disgorge her home”]; Sitomer v. Orlan 660

   So 2d 1111, 1113 (1995). Mr. Navellier’s personal assets that arguably are available for

   enforcement are:

b. His stock ownership in NAI is held as tenants by the entirety by his wife and he and she is

   not a judgment debtor and does not agree to make NAI stock available for enforcement by

   the SEC or any other creditor of his or of NAI. Moreover, there is $______ [under seal] book

   value in the NAI business but [under seal] is for a promissory note which may be

   uncollectable and the cash in the operating account is needed to operate the business and

   keep the 25 employees and independent contractors employed and the business operating as a



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   going concern to maintain its current value. A true and correct copy of NAI’s most recent

   financial statement prepared by David Machen… (balance sheet, income & expense

   statement) is being filed under seal (Exhibit 6).

c. His ownership interest in Navellier Analytics also is held as tenants by the entirety which is

   excluded from enforceability. The only asset of the company is an appealing account to pay

   expenses and employees and writers. The only other asset Mr. Navellier has is personal

   goodwill for providing newsletter content. His wife does not consent to pledging or

   encumbering that stock ownership or assets to satisfy the Final Judgment.

d. Automobiles which are also held as tenants by the entirety with his wife and intended to be

   held as tenants by the entirety. (Copies of titles to be filed under seal). His wife has not

   consented to waiving her tenants by entirety protection against their automobiles.

e. The Florida home which is the principal residence of his wife and he is held by his wife and

   he as tenants by the entirety is not an asset available to satisfy his judgment debt to the SEC.

   Sitomer v. Orlan 660 So.2d 1111, 1113 (D.C.A. 1995); Securities and Exchange Commission

   v. Yun 208 F. Supp.2d 1279, 1284 (M.D. Fla 2002).

f. He also has [under seal] in a retirement account and [under seal] in an investment account

   (Exhibits 9 and 10 to be filed under seal are true and current copies of his most correct

   account statements for said accounts) which are held and also intended as tenants by the

   entirety.

g. He owns a home in Reno, Nevada with his wife as tenants by the entirety but his wife has

   agreed that he can pledge the equity in the Reno home as collateral for a supersedeas bond

   (conditioned on approval of a reduced supersedeas bond in the face amount of $3 million or

   less).



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                                  NAI Has Little In The Way Of Assets

          As to NAI, it has little or no assets. It has been breaking even or had losses since the SEC

issued its Wells Notice in 2016 and since it has proceeded with this case. NAI has been kept

afloat by LN’s infusion of cash to cover shortfalls in expenses. Mr. Navellier has not taken a

salary during that entire time. NAI may have some residual goodwill but the amount is

indeterminable and without NAI being a going business or Mr. Navellier being affiliated. If

either NAI or Mr. Navellier is barred from being investment advisers the value of NAI’s

goodwill would be further irreparably reduced or eliminated.



   II.       THERE IS A LIKELIHOOD OF SUCCESS ON APPEAL

          A stay should be granted and the supersedeas bond should be reduced to $27,500 because

it is likely the summary judgment will be overturned and even if it is not overturned. Even if it is

likely the $28,964,571 combined disgorgement and prejudgment interest amount will be

eliminated or reduced to no more than $27,500 after the appeal, as required by today’s Liu v.

SEC Supreme Court case. (Exhibit 2)



   III.      THE SUMMARY JUDGMENT WILL LIKELY BE REVERSED

          There is a strong likelihood the summary judgment which underlies the Final Judgment

will be overturned on appeal. In its partial summary judgment decision, this Court found that

Defendants’ marketing materials contained “false and misleading statements regarding the

performance of the AlphaSector strategies… that the strategies had been live traded since 2001”

(DKT#252 p. 15). However, the SEC produced NO EVIDENCE, let alone undisputed evidence,

that the statements were false. There was no evidence that the strategy upon which the



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AlphaSector strategy was based had not been live traded since 2001. This Court cited no

evidence to prove that the underlying strategy had not been live traded since 2001. So, there was

no evidence to support the predicate- false statement- of a 206(1) or 206(2) violation. In order for

the SEC to establish a 206(1) or 206(2) violation it had to prove that the statement was false or

misleading. There was no such undisputed evidence and therefore it was reversible error to grant

it without proof the statements were false.

       Likewise the evidence and reasonable inferences therefrom was in dispute as to whether

Defendants had knowledge that the statements were false (there could not have been knowledge

the statements were false because the statements were not false- there was no proof the

statements were false). Making a true statement is not a violation of 206(1) or (2). In re

Lululemon Securities Litigation 14 F. Supp.3d 553, 571 (S.D.N.Y. 2014).

       The evidence was also in dispute as to whether either Defendant intended to defraud

clients or prospective clients. Mr. Navellier denied that he intended to defraud clients and stated

he had no proof the statements were false and that he had no intent to or plan to defraud clients.

Indeed, Mr. Navellier took steps to stop his firm and marketers from disseminating any

statements that were not approved by NAI’s compliance officers. Again, no false statements

were disseminated, so there couldn’t have been an artifice to defraud clients with true statements.

       Likewise, the SEC’s 30(b)(6) witness admitted references to the historical origin and

“performance” of the underlying strategy back to 2001 were NOT material to investors making

decisions to invest in Vireo in 2011 and thereafter. That is especially true where, as here, the

GIPS compliant, actual performance record of NAI’s Vireo strategies (i.e., how NAI’s actual

management of its Vireo clients’ accounts actually performed) was presented by NAI to its Vireo

clients in NAI’s “allegedly misleading marketing materials”. Any references to 2001



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“performance” (there were no track record performance percentages given for the underlying live

traded strategy) was immaterial. What was material was how NAI’s management of its Vireo

strategies had actually performed.

       For these reasons and others, it was error for this Court to grant partial summary

judgment and the Court of Appeals will likely overturn the summary judgment.



   Disgorgement, Based On The Supreme Court’s Ruling In Liu v. SEC Was Incorrectly
                          Calculated In The Final Judgment

       Likewise, it is likely this Court’s $28,964,571 disgorgement and prejudgment interest

award will be overturned or be greatly reduced down to at most the $25,000 in net profits from

alleged “ill-gotten gains” for initially obtaining investors to invest in NAI’s two Vireo

AlphaSector strategies. The $14 million goodwill sale was not causally connected to any 206(1)

or 206(2) violation SEC v. MacDonald 699 F.2d 53-54 (1st Cir. Ap. 1983); NAI spent millions

creating that goodwill. Nor was the $14 million attributable to any “ill-gotten gains” or net

profits. The $14 million was obtained from F-Squared, not from any clients. The clients paid

nothing for the goodwill, there are no net profits to return to them because they paid nothing to

Defendants for that goodwill. There is nothing to restitute to them. There can only be

disgorgement of amounts that have to be paid back to the victims for the harm (if any) actually

done to them. Since there was no harm to clients, (clients paid nothing) for Defendants’ sale of

their goodwill, there is nothing to disgorge. Disgorgement of any of the $14 million would be

punitive and improper. Liu v. SEC Slip Op. p. 18.

       Likewise, none of the investment of $8.5 million in advisory fees are disgorgeable since

they were all paid as consideration for providing the clients investment advisory services

according to NAI’s Vireo AlphaSector Premium and Allocator strategies. The clients got exactly

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what they paid for and received $278 million in profits, so not only did they receive their original

investment (all monies they put up to have invested) and all the monies ($8.5 million) they paid

in advisory fees, but they received an additional $278 in profits. There were no ill-gotten gains

by NAI or LN. The fees were legally earned. They were not obtained by “fraud” especially the

fees received after clients became clients and remained clients. They paid for advisory services

they received.

       Moreover, even if disgorgement is an authorized remedy for “violations” of 206(1) and

206(2) it is restricted in amount to a restitution of the “net profit” made by the wrongdoer

directly related to “fraud”. Not all (or any) of the net profits are disgorgeable. Profits earned that

were not received due to the “fraud” are not disgorgeable. Liu v. SEC Slip. Op. p. 11 citing

Serymore v. McCormick 16 How 480, 490 (1854). In this case this Court was required to deduct

from the fees NAI received from its Vireo clients NAI’s expenses. That “net profit” amounted to

at most $25,000, not $8.5 million. But there has to be an accounting for the $278 million

returned to the clients’ $278 million; so there is no disgorgement. This Court did not make the

proper accounting by making those deductions. Nor did it account for the return to clients of all

investment fees they paid to NAI, nor did it account for the $278 million profits returned to the

clients which would be required in order to return to the status quo. In short in calculating net

profits, just deducting expenses from NAI’s “net profits” were, based on the evidence presented

by NAI, $25,000 of “net profits” (Exhibit 2). The SEC presented no evidence as to NAI’s net

profits and did not refute that NAI’s “net profits” (before return of clients’ fees and clients’ $278

million in profits) was $25,000. (Exhibit 2). When the return of fees is considered (as it must in

accounting for and arriving at an equitable remedy) the disgorgement amount is zero and the

prejudgment interest thereon is zero. So it is likely, especially in light of the United States



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Supreme Court’s ruling today in the Liu case that the Court of Appeals, if it does not overturn the

summary judgment, will at least vacate the monetary disgorgement award in full or remand for a

proper and equitable calculation of disgorgement, if any, in light of Liu v. SEC.

       Since an equitable determination of “disgorgement”, if any, would be a maximum of

$25,000, even if the determination of 206(1) and (2) “violations” were upheld, the supersedeas

bond amount should not exceed 110% of a monetary judgment should be, i.e., 110% of $25,000

or $27,500). (Exhibit 2).




                                         CONCLUSION

       For the reasons set forth above, Defendants’ motion to temporarily stay enforcement of

any of the Final Judgment (injunctive and monetary award), including enjoining the SEC from

proceeding with Administrative Proceedings at the Securities and Exchange Commission until at

least this Court issues a decision on this motion, should be granted.

       This Court should further stay enforcement, (including enjoining the SEC from

proceeding with its Administrative Proceedings in File No. 3-19826 or threatening NAI clients

(including mutual fund clients) to cease retaining Defendants as their investment advisers).

Pending a decision by the First Circuit Court of Appeals on the appeal from the Final Judgment.




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       The Court should also either waive the requirement for a supersedeas bond or reduce the

bond amount to $27,500 which is the maximum disgorgement that would be available if the

summary judgment were upheld.

                                           Respectfully submitted,

DATED: June 22, 2020          LAW OFFICES OF SAMUEL KORNHAUSER
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                                 CERTIFICATE OF SERVICE

       I certify that on June 22, 2020, a copy of the foregoing was electronically filed through the

ECF system and will be sent electronically to all persons identified in the Notice of Electronic

Filing and that paper copies will be sent to those indicated as non-registered participants.



Dated: June 22, 2020                                  /s/ Dan Cowan
                                                          Dan Cowan




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       (Slip Opinion)              OCTOBER TERM, 2019                                       1

                                              Syllabus

                NOTE: Where it is feasible, a syllabus (headnote) will be released, as is
              being done in connection with this case, at the time the opinion is issued.
              The syllabus constitutes no part of the opinion of the Court but has been
              prepared by the Reporter of Decisions for the convenience of the reader.
              See United States v. Detroit Timber & Lumber Co., 200 U. S. 321, 337.


       SUPREME COURT OF THE UNITED STATES

                                              Syllabus

                LIU ET AL. v. SECURITIES AND EXCHANGE
                               COMMISSION

       CERTIORARI TO THE UNITED STATES COURT OF APPEALS FOR
                         THE NINTH CIRCUIT

             No. 18–1501. Argued March 3, 2020—Decided June 22, 2020
       To punish securities fraud, the Securities and Exchange Commission is
         authorized to seek “equitable relief” in civil proceedings, 15 U. S. C.
         §78u(d)(5). In Kokesh v. SEC, 581 U. S. ___, this Court held that a
         disgorgement order in a Securities and Exchange Commission (SEC)
         enforcement action constitutes a “penalty” for purposes of the applica-
         ble statute of limitations. The Court did not, however, address
         whether disgorgement can qualify as “equitable relief” under
         §78u(d)(5), given that equity historically excludes punitive sanctions.
            Petitioners Charles Liu and Xin Wang solicited foreign nationals to
         invest in the construction of a cancer-treatment center, but, an SEC
         investigation revealed, misappropriated much of the funds in violation
         of the terms of a private offering memorandum. The SEC brought a
         civil action against petitioners, seeking, as relevant here, disgorge-
         ment equal to the full amount petitioners had raised from investors.
         Petitioners argued that the disgorgement remedy failed to account for
         their legitimate business expenses, but the District Court disagreed
         and ordered petitioners jointly and severally liable for the full amount.
         The Ninth Circuit affirmed.
       Held: A disgorgement award that does not exceed a wrongdoer’s net prof-
        its and is awarded for victims is equitable relief permissible under
        §78u(d)(5). Pp. 5–20.
           (a) In interpreting statutes that provide for “equitable relief,” this
        Court analyzes whether a particular remedy falls into “those catego-
        ries of relief that were typically available in equity.” Mertens v. Hewitt
        Associates, 508 U. S. 248, 256. Relevant here are two principles of eq-
        uity jurisprudence. Equity practice has long authorized courts to strip
        wrongdoers of their ill-gotten gains. And to avoid transforming that
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           remedy into a punitive sanction, courts restricted it to an individual
           wrongdoer’s net profits to be awarded for victims. Pp. 5–14.
                 (1) Whether it is called restitution, an accounting, or disgorge-
           ment, the equitable remedy that deprives wrongdoers of their net prof-
           its from unlawful activity reflects both the foundational principle that
           “it would be inequitable that [a wrongdoer] should make a profit out of
           his own wrong,” Root v. Railway Co., 105 U. S. 189, 207, and the coun-
           tervailing equitable principle that the wrongdoer should not be pun-
           ished by “pay[ing] more than a fair compensation to the person
           wronged,” Tilghman v. Proctor, 125 U. S. 136, 145–146. The remedy
           has been a mainstay of equity courts, and is not limited to cases in-
           volving a breach of trust or fiduciary duty, see Root, 105 U. S., at 214.
           Pp. 6–9.
                 (2) To avoid transforming a profits award into a penalty, equity
           courts restricted the remedy in various ways. A constructive trust was
           often imposed on wrongful gains for wronged victims. See, e.g., Bur-
           dell v. Denig, 92 U. S. 716, 720. Courts also generally awarded profits-
           based remedies against individuals or partners engaged in concerted
           wrongdoing, not against multiple wrongdoers under a joint-and-sev-
           eral liability theory. See, e.g., Ambler v. Whipple, 20 Wall. 546, 559.
           Finally, courts limited awards to the net profits from wrongdoing after
           deducting legitimate expenses. See, e.g., Rubber Co. v. Goodyear, 9
           Wall. 788, 804. Pp. 9–12.
                 (3) Congress incorporated these longstanding equitable principles
           into §78u(d)(5), but courts have occasionally awarded disgorgement in
           ways that test the bounds of equity practice. Petitioners claim that
           disgorgement is necessarily a penalty under Kokesh, and thus not
           available at equity. But Kokesh expressly declined to reach that ques-
           tion. The Government contends that the SEC’s interpretation has
           Congress’ tacit support. But Congress does not enlarge the breadth of
           an equitable, profit-based remedy simply by using the term “disgorge-
           ment” in various statutes. Pp. 12–14.
              (b) Petitioners briefly claim that their disgorgement award crosses
           the bounds of traditional equity practice by failing to return funds to
           victims, imposing joint-and-several liability, and declining to deduct
           business expenses from the award. Because the parties did not fully
           brief these narrower questions, the Court does not decide them here.
           But certain principles may guide the lower courts’ assessment of these
           arguments on remand. Pp. 14–20.
                 (1) Section 78u(d)(5) provides limited guidance as to whether the
           practice of depositing a defendant’s gains with the Treasury satisfies
           its command that any remedy be “appropriate or necessary for the ben-
           efit of investors,” and the equitable nature of the profits remedy gen-
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         erally requires the SEC to return a defendant’s gains to wronged in-
         vestors. The parties, however, do not identify a specific order in this
         case directing any proceeds to the Treasury. If one is entered on re-
         mand, the lower courts may evaluate in the first instance whether that
         order would be for the benefit of investors and consistent with equita-
         ble principles. Pp. 14–17.
               (2) Imposing disgorgement liability on a wrongdoer for benefits
         that accrue to his affiliates through joint-and-several liability runs
         against the rule in favor of holding defendants individually liable. See
         Belknap v. Schild, 161 U. S. 10, 25–26. The common law did, however,
         permit liability for partners engaged in concerted wrongdoing. See,
         e.g., Ambler, 20 Wall., at 559. On remand, the Ninth Circuit may de-
         termine whether the facts are such that petitioners can, consistent
         with equitable principles, be found liable for profits as partners in
         wrongdoing or whether individual liability is required. Pp. 17–18.
               (3) Courts may not enter disgorgement awards that exceed the
         gains “made upon any business or investment, when both the receipts
         and payments are taken into the account.” Goodyear, 9 Wall., at 804.
         When the “entire profit of a business or undertaking” results from the
         wrongdoing, a defendant may be denied “inequitable deductions.”
         Root, 105 U. S., at 203. Accordingly, courts must deduct legitimate
         expenses before awarding disgorgement under §78u(d)(5). The Dis-
         trict Court below did not ascertain whether any of petitioners’ ex-
         penses were legitimate. On remand, the lower courts should examine
         whether including such expenses in a profits-based remedy is con-
         sistent with the equitable principles underlying §78u(d)(5). Pp. 18–20.
       754 Fed. Appx. 505, vacated and remanded.

         SOTOMAYOR, J., delivered the opinion of the Court, in which ROBERTS,
       C. J., and GINSBURG, BREYER, ALITO, KAGAN, GORSUCH, and KAVANAUGH,
       JJ., joined. THOMAS, J., filed a dissenting opinion.
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            NOTICE: This opinion is subject to formal revision before publication in the
            preliminary print of the United States Reports. Readers are requested to
            notify the Reporter of Decisions, Supreme Court of the United States, Wash-
            ington, D. C. 20543, of any typographical or other formal errors, in order that
            corrections may be made before the preliminary print goes to press.


       SUPREME COURT OF THE UNITED STATES
                                           _________________

                                           No. 18–1501
                                           _________________


              CHARLES C. LIU, ET AL., PETITIONERS v.
            SECURITIES AND EXCHANGE COMMISSION
        ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                   APPEALS FOR THE NINTH CIRCUIT
                                         [June 22, 2020]

          JUSTICE SOTOMAYOR delivered the opinion of the Court.
          In Kokesh v. SEC, 581 U. S. ___ (2017), this Court held
       that a disgorgement order in a Securities and Exchange
       Commission (SEC) enforcement action imposes a “penalty”
       for the purposes of 28 U. S. C. §2462, the applicable statute
       of limitations. In so deciding, the Court reserved an ante-
       cedent question: whether, and to what extent, the SEC may
       seek “disgorgement” in the first instance through its power
       to award “equitable relief ” under 15 U. S. C. §78u(d)(5), a
       power that historically excludes punitive sanctions. The
       Court holds today that a disgorgement award that does not
       exceed a wrongdoer’s net profits and is awarded for victims
       is equitable relief permissible under §78u(d)(5). The judg-
       ment is vacated, and the case is remanded for the courts
       below to ensure the award was so limited.
                                    I
                                    A
         Congress authorized the SEC to enforce the Securities
       Act of 1933, 48 Stat. 74, as amended, 15 U. S. C. §77a et
       seq., and the Securities Exchange Act of 1934, 48 Stat. 881,
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       as amended, 15 U. S. C. §78a et seq., and to punish securi-
       ties fraud through administrative and civil proceedings. In
       administrative proceedings, the SEC can seek limited civil
       penalties and “disgorgement.” See §77h–1(e) (“In any
       cease-and-desist proceeding under subsection (a), the Com-
       mission may enter an order requiring accounting and dis-
       gorgement”); see also §77h–1(g) (“Authority to impose
       money penalties”). In civil actions, the SEC can seek civil
       penalties and “equitable relief.” See, e.g., §78u(d)(5) (“In
       any action or proceeding brought or instituted by the Com-
       mission under any provision of the securities laws, . . . any
       Federal court may grant . . . any equitable relief that may
       be appropriate or necessary for the benefit of investors”);
       see also §78u(d)(3) (“Money penalties in civil actions” (quo-
       tation modified)).
          Congress did not define what falls under the umbrella of
       “equitable relief.” Thus, courts have had to consider which
       remedies the SEC may impose as part of its §78u(d)(5) pow-
       ers.
          Starting with SEC v. Texas Gulf Sulphur Co., 446 F. 2d
       1301 (CA2 1971), courts determined that the SEC had au-
       thority to obtain what it called “restitution,” and what in
       substance amounted to “profits” that “merely depriv[e ]” a
       defendant of “the gains of . . . wrongful conduct.” Id., at
       1307–1308. Over the years, the SEC has continued to re-
       quest this remedy, later referred to as “disgorgement,”1 and
       ——————
         1 Courts have noted the relatively recent vintage of the term “disgorge-

       ment.” See, e.g., SEC v. Cavanaugh, 445 F. 3d 105, 116, n. 24 (CA2
       2006). The dissent contends that this recency in terminology alone re-
       moves disgorgement from the class of traditional equitable remedies,
       post, at 4 (opinion of THOMAS, J.), despite seeming to recognize disgorge-
       ment’s parallels to restitution-based awards well within that class, post,
       at 4–5. It is no surprise that the dissent notes such parallels, given this
       Court’s acknowledgment that “disgorgement of improper profits” is “a
       remedy only for restitution” that is “traditionally considered . . . equita-
       ble.” Tull v. United States, 481 U. S. 412, 424 (1987); see also infra, at 7.
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       courts have continued to award it. See SEC v. Common-
       wealth Chemical Securities, Inc., 574 F. 2d 90, 95 (CA2
       1978) (explaining that, when a court awards “[d]isgorge-
       ment of profits in an action brought by the SEC,” it is “ex-
       ercising the chancellor’s discretion to prevent unjust en-
       richment”); see also SEC v. Blatt, 583 F. 2d 1325, 1335 (CA5
       1978); SEC v. Washington Cty. Util. Dist., 676 F. 2d 218,
       227 (CA6 1982).
          In Kokesh, this Court determined that disgorgement con-
       stituted a “penalty” for the purposes of 28 U. S. C. §2462,
       which establishes a 5-year statute of limitations for “an ac-
       tion, suit or proceeding for the enforcement of any civil fine,
       penalty, or forfeiture.” The Court reached this conclusion
       based on several considerations, namely, that disgorgement
       is imposed as a consequence of violating public laws, it is
       assessed in part for punitive purposes, and in many cases,
       the award is not compensatory. 581 U. S., at ___–___ (slip
       op., at 7–9). But the Court did not address whether a §2462
       penalty can nevertheless qualify as “equitable relief ” under
       §78u(d)(5), given that equity never “lends its aid to enforce
       a forfeiture or penalty.” Marshall v. Vicksburg, 15 Wall.
       146, 149 (1873). The Court cautioned, moreover, that its
       decision should not be interpreted “as an opinion on
       whether courts possess authority to order disgorgement in
       SEC enforcement proceedings.” Kokesh, 581 U. S., at ___,
       n. 3 (slip op., at 5, n. 3). This question is now squarely be-
       fore the Court.

       ——————
       The dissent also observes the solid equitable roots of an accounting for
       profits, post, at 3; accord, infra, at 6 (discussing the equitable origins of
       the accounting remedy), a remedy closely resembling disgorgement, see
       infra, at 8–9. In any event, casting aside a form of relief solely “based on
       the particular label affixed to [it] would ‘elevate form over substance,’ ”
       Aetna Health Inc. v. Davila, 542 U. S. 200, 214 (2004), leaving unresolved
       the question before us: whether the underlying profits-based award con-
       forms to equity practice.
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                                     B
          The SEC action and disgorgement award at issue here
       arise from a scheme to defraud foreign nationals. Petition-
       ers Charles Liu and his wife, Xin (Lisa) Wang, solicited
       nearly $27 million from foreign investors under the EB–5
       Immigrant Investor Program (EB–5 Program). 754 Fed.
       Appx. 505, 506 (CA9 2018) (case below). The EB–5 Pro-
       gram, administered by the U. S. Citizenship and Immigra-
       tion Services, permits noncitizens to apply for permanent
       residence in the United States by investing in approved
       commercial enterprises that are based on “proposals for
       promoting economic growth.” See USCIS, EB–5 Immigrant
       Investor Program, https://www.uscis.gov/eb-5.        Invest-
       ments in EB–5 projects are subject to the federal securities
       laws.
          Liu sent a private offering memorandum to prospective
       investors, pledging that the bulk of any contributions would
       go toward the construction costs of a cancer-treatment cen-
       ter. The memorandum specified that only amounts col-
       lected from a small administrative fee would fund “ ‘legal,
       accounting and administration expenses.’ ” 754 Fed. Appx.,
       at 507. An SEC investigation revealed, however, that Liu
       spent nearly $20 million of investor money on ostensible
       marketing expenses and salaries, an amount far more than
       what the offering memorandum permitted and far in excess
       of the administrative fees collected. 262 F. Supp. 3d 957,
       960–964 (CD Cal. 2017). The investigation also revealed
       that Liu diverted a sizable portion of those funds to per-
       sonal accounts and to a company under Wang’s control. Id.,
       at 961, 964. Only a fraction of the funds were put toward a
       lease, property improvements, and a proton-therapy ma-
       chine for cancer treatment. Id., at 964–965.
          The SEC brought a civil action against petitioners, alleg-
       ing that they violated the terms of the offering documents
       by misappropriating millions of dollars. The District Court
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       found for the SEC, granting an injunction barring petition-
       ers from participating in the EB–5 Program and imposing
       a civil penalty at the highest tier authorized. Id., at 975,
       976. It also ordered disgorgement equal to the full amount
       petitioners had raised from investors, less the $234,899
       that remained in the corporate accounts for the project. Id.,
       at 975–976.
         Petitioners objected that the disgorgement award failed
       to account for their business expenses. The District Court
       disagreed, concluding that the sum was a “reasonable ap-
       proximation of the profits causally connected to [their] vio-
       lation.” Ibid. The court ordered petitioners jointly and sev-
       erally liable for the full amount that the SEC sought. App.
       to Pet. for Cert. 62a.
         The Ninth Circuit affirmed. It acknowledged that Kokesh
       “expressly refused to reach” the issue whether the District
       Court had the authority to order disgorgement. 754 Fed.
       Appx., at 509. The court relied on Circuit precedent to con-
       clude that the “proper amount of disgorgement in a scheme
       such as this one is the entire amount raised less the money
       paid back to the investors.” Ibid.; see also SEC v. JT Wal-
       lenbrock & Assocs., 440 F. 3d 1109, 1113, 1114 (CA9 2006)
       (reasoning that it would be “unjust to permit the defendants
       to offset . . . the expenses of running the very business they
       created to defraud . . . investors”).
         We granted certiorari to determine whether §78u(d)(5)
       authorizes the SEC to seek disgorgement beyond a defend-
       ant’s net profits from wrongdoing. 589 U. S. ___ (2019).
                                     II
         Our task is a familiar one. In interpreting statutes like
       §78u(d)(5) that provide for “equitable relief,” this Court an-
       alyzes whether a particular remedy falls into “those catego-
       ries of relief that were typically available in equity.”
       Mertens v. Hewitt Associates, 508 U. S. 248, 256 (1993); see
       also CIGNA Corp. v. Amara, 563 U. S. 421, 439 (2011);
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       Montanile v. Board of Trustees of Nat. Elevator Industry
       Health Benefit Plan, 577 U. S. 136, 142 (2016). The “basic
       contours of the term are well known” and can be discerned
       by consulting works on equity jurisprudence. Great-West
       Life & Annuity Ins. Co. v. Knudson, 534 U. S. 204, 217
       (2002).
         These works on equity jurisprudence reveal two princi-
       ples. First, equity practice long authorized courts to strip
       wrongdoers of their ill-gotten gains, with scholars and
       courts using various labels for the remedy. Second, to avoid
       transforming an equitable remedy into a punitive sanction,
       courts restricted the remedy to an individual wrongdoer’s
       net profits to be awarded for victims.
                                     A
          Equity courts have routinely deprived wrongdoers of
       their net profits from unlawful activity, even though that
       remedy may have gone by different names. Compare, e.g.,
       1 D. Dobbs, Law of Remedies §4.3(5), p. 611 (1993) (“Ac-
       counting holds the defendant liable for his profits”), with
       id., §4.1(1), at 555 (referring to “restitution” as the relief
       that “measures the remedy by the defendant’s gain and
       seeks to force disgorgement of that gain”); see also Restate-
       ment (Third) of Restitution and Unjust Enrichment §51,
       Comment a, p. 204 (2010) (Restatement (Third)) (“Restitu-
       tion measured by the defendant’s wrongful gain is fre-
       quently called ‘disgorgement.’ Other cases refer to an ‘ac-
       counting’ or an ‘accounting for profits’ ”); 1 J. Pomeroy,
       Equity Jurisprudence §101, p. 112 (4th ed. 1918) (describ-
       ing an accounting as an equitable remedy for the violation
       of strictly legal primary rights).
          No matter the label, this “profit-based measure of unjust
       enrichment,” Restatement (Third) §51, Comment a, at 204,
       reflected a foundational principle: “[I]t would be inequitable
       that [a wrongdoer] should make a profit out of his own
       wrong,” Root v. Railway Co., 105 U. S. 189, 207 (1882). At
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       the same time courts recognized that the wrongdoer should
       not profit “by his own wrong,” they also recognized the coun-
       tervailing equitable principle that the wrongdoer should
       not be punished by “pay[ing] more than a fair compensation
       to the person wronged.” Tilghman v. Proctor, 125 U. S. 136,
       145–146 (1888).
          Decisions from this Court confirm that a remedy tethered
       to a wrongdoer’s net unlawful profits, whatever the name,
       has been a mainstay of equity courts. In Porter v. Warner
       Holding Co., 328 U. S. 395 (1946), the Court interpreted a
       section of the Emergency Price Control Act of 1942 that en-
       compassed a “comprehensiv[e]” grant of “equitable jurisdic-
       tion.” Id., at 398. “[O]nce [a District Court’s] equity juris-
       diction has been invoked” under that provision, the Court
       concluded, “a decree compelling one to disgorge profits . . .
       may properly be entered.” Id., at 398–399.
          Subsequent cases confirm the “ ‘protean character’ of the
       profits-recovery remedy.”        Petrella v. Metro-Goldwyn-
       Mayer, Inc., 572 U. S. 663, 668, n. 1 (2014). In Tull v.
       United States, 481 U. S. 412 (1987), the Court described
       “disgorgement of improper profits” as “traditionally consid-
       ered an equitable remedy.” Id., at 424. While the Court
       acknowledged that disgorgement was a “limited form of
       penalty” insofar as it takes money out of the wrongdoer’s
       hands, it nevertheless compared disgorgement to restitu-
       tion that simply “ ‘restor[es] the status quo,’ ” thus situating
       the remedy squarely within the heartland of equity. Ibid.2
       ——————
          2 The dissent acknowledges that this Court has “referred to disgorge-

       ment as an equitable remedy in some of its prior decisions.” Post, at 6
       (citing Feltner v. Columbia Pictures Television, Inc., 523 U. S. 340, 352
       (1998)). While the dissent attempts to discount those cases for having
       “merely referred to the term” only “in passing,” post, at 6, those cases
       expressly “characterized as equitable . . . actions for disgorgement of im-
       proper profits” in analyzing whether certain remedies were traditionally
       available in equity, Feltner, 523 U. S., at 352 (citing Teamsters v. Terry,
       494 U. S. 558, 570 (1990) (“characteriz[ing] damages as equitable where
       they are restitutionary, such as in ‘action[s] for disgorgement of improper
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       In Great-West, the Court noted that an “accounting for prof-
       its” was historically a “form of equitable restitution.” 534
       U. S., at 214, n. 2. And in Kansas v. Nebraska, 574 U. S.
       445 (2015), a “ ‘basically equitable’ ” original jurisdiction
       proceeding, the Court ordered disgorgement of Nebraska’s
       gains from exceeding its allocation under an interstate wa-
       ter compact. Id., at 453, 475.
          Most recently, in SCA Hygiene Products Aktiebolag v.
       First Quality Baby Products, LLC, 580 U. S. ___ (2017), the
       Court canvassed pre-1938 patent cases invoking equity ju-
       risdiction. It noted that many cases sought an “accounting,”
       which it described as an equitable remedy requiring dis-
       gorgement of ill-gotten profits. Id., at ___ (slip op., at 11).
       This Court’s “transsubstantive guidance on broad and fun-
       damental” equitable principles, Romag Fasteners, Inc. v.
       Fossil Group, Inc., 590 U. S. ___, ___ (2020) (slip op., at 5),
       thus reflects the teachings of equity treatises that identify
       a defendant’s net profits as a remedy for wrongdoing.
          Contrary to petitioners’ argument, equity courts did not
       limit this remedy to cases involving a breach of trust or of
       fiduciary duty. Brief for Petitioners 28–29. As petitioners
       acknowledge, courts authorized profits-based relief in pa-
       tent-infringement actions where no such trust or special re-
       lationship existed. Id., at 29; see also Root, 105 U. S., at
       214 (“[I]t is nowhere said that the patentee’s right to an ac-
       count is based upon the idea that there is a fiduciary rela-
       tion created between him and the wrong-doer by the fact of
       infringement”).
          Petitioners attempt to distinguish these patent cases by
       suggesting that an “accounting” was appropriate only be-
       cause Congress explicitly conferred that remedy by statute
       in 1870. Brief for Petitioners 29 (citing the Act of July 8,
       1870, §55, 16 Stat. 206). But patent law had not previously
       deviated from the general principles outlined above: This
       ——————
       profits’ ”); Tull, 481 U. S., at 424).
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       Court had developed the rule that a plaintiff may “recover
       the amount of . . . profits that the defendants have made by
       the use of his invention” through “a series of decisions un-
       der the patent act of 1836, which simply conferred upon the
       courts of the United States general equity jurisdiction . . .
       in cases arising under the patent laws.” Tilghman, 125
       U. S., at 144. The 1836 statute, in turn, incorporated the
       substance of an earlier statute from 1819 which granted
       courts the ability to “proceed according to the course and
       principles of courts of equity” to “prevent the violation of
       patent-rights.” Root, 105 U. S., at 193. Thus, as these cases
       demonstrate, equity courts habitually awarded profits-
       based remedies in patent cases well before Congress explic-
       itly authorized that form of relief.
                                      B
          While equity courts did not limit profits remedies to par-
       ticular types of cases, they did circumscribe the award in
       multiple ways to avoid transforming it into a penalty out-
       side their equitable powers. See Marshall, 15 Wall., at 149.
          For one, the profits remedy often imposed a constructive
       trust on wrongful gains for wronged victims. The remedy
       itself thus converted the wrongdoer, who in many cases was
       an infringer, “into a trustee, as to those profits, for the
       owner of the patent which he infringes.” Burdell v. Denig,
       92 U. S. 716, 720 (1876). In “converting the infringer into a
       trustee for the patentee as regards the profits thus made,”
       the chancellor “estimat[es] the compensation due from the
       infringer to the patentee.” Packet Co. v. Sickles, 19 Wall.
       611, 617–618 (1874); see also Clews v. Jamieson, 182 U. S.
       461, 480 (1901) (describing an accounting as involving a
       “ ‘distribution of the trust moneys among all the beneficiar-
       ies who are entitled to share therein’ ” in an action against
       the governing committee of a stock exchange).
          Equity courts also generally awarded profits-based rem-
       edies against individuals or partners engaged in concerted
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       wrongdoing, not against multiple wrongdoers under a joint-
       and-several liability theory. See Ambler v. Whipple, 20
       Wall. 546, 559 (1874) (ordering an accounting against a
       partner who had “knowingly connected himself with and
       aided in . . . fraud”). In Elizabeth v. Pavement Co., 97 U. S.
       126 (1878), for example, a city engaged contractors to in-
       stall pavement in a manner that infringed a third party’s
       patent. The patent holder brought a suit in equity to re-
       cover profits from both the city and its contractors. The
       Court held that only the contractors (the only parties to
       make a profit) were responsible, even though the parties
       answered jointly. Id., at 140; see also ibid. (rejecting liabil-
       ity for an individual officer who merely acted as an agent of
       the defendant and received a salary for his work). The rule
       against joint-and-several liability for profits that have ac-
       crued to another appears throughout equity cases awarding
       profits. See, e.g., Belknap v. Schild, 161 U. S. 10, 25–26
       (1896) (“The defendants, in any such suit, are therefore lia-
       ble to account for such profits only as have accrued to them-
       selves from the use of the invention, and not for those which
       have accrued to another, and in which they have no partic-
       ipation”); Keystone Mfg. Co. v. Adams, 151 U. S. 139, 148
       (1894) (reversing profits award that was based not on what
       defendant had made from infringement but on what third
       persons had made from the use of the invention); Jennings
       v. Carson, 4 Cranch 2, 21 (1807) (holding that an order re-
       quiring restitution could not apply to “those who were not
       in possession of the thing to be restored” and “had no power
       over it”) (citing Penhallow v. Doane’s Administrators, 3
       Dall. 54 (1795) (reversing a restitution award in admiralty
       that ordered joint damages in excess of what each defend-
       ant received)).
          Finally, courts limited awards to the net profits from
       wrongdoing, that is, “the gain made upon any business or
       investment, when both the receipts and payments are
       taken into the account.” Rubber Co. v. Goodyear, 9 Wall.
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       788, 804 (1870); see also Livingston v. Woodworth, 15 How.
       546, 559–560 (1854) (restricting an accounting remedy “to
       the actual gains and profits . . . during the time” the infring-
       ing machine “was in operation and during no other period”
       to avoid “convert[ing] a court of equity into an instrument
       for the punishment of simple torts”); Seymour v. McCor-
       mick, 16 How. 480, 490 (1854) (rejecting a blanket rule that
       infringing one component of a machine warranted a remedy
       measured by the full amounts of the profits earned from the
       machine); Mowry v. Whitney, 14 Wall. 620, 649 (1872) (va-
       cating an accounting that exceeded the profits from in-
       fringement alone); Wooden-Ware Co. v. United States, 106
       U. S. 432, 434–435 (1882) (explaining that an innocent tres-
       passer is entitled to deduct labor costs from the gains ob-
       tained by wrongfully harvesting lumber).
          The Court has carved out an exception when the “entire
       profit of a business or undertaking” results from the wrong-
       ful activity. Root, 105 U. S., at 203. In such cases, the
       Court has explained, the defendant “will not be allowed to
       diminish the show of profits by putting in unconscionable
       claims for personal services or other inequitable deduc-
       tions.” Ibid. In Goodyear, for example, the Court affirmed
       an accounting order that refused to deduct expenses under
       this rule. The Court there found that materials for which
       expenses were claimed were bought for the purposes of the
       infringement and “extraordinary salaries” appeared merely
       to be “dividends of profit under another name.” 9 Wall., at
       803; see also Callaghan v. Myers, 128 U. S. 617, 663–664
       (1888) (declining to deduct a defendant’s personal and liv-
       ing expenses from his profits from copyright violations, but
       distinguishing the expenses from salaries of officers in a
       corporation).
          Setting aside that circumstance, however, courts consist-
       ently restricted awards to net profits from wrongdoing after
       deducting legitimate expenses. Such remedies, when as-
       sessed against only culpable actors and for victims, fall
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       comfortably within “those categories of relief that were typ-
       ically available in equity.” Mertens, 508 U. S., at 256.
                                        C
          By incorporating these longstanding equitable principles
       into §78u(d)(5), Congress prohibited the SEC from seeking
       an equitable remedy in excess of a defendant’s net profits
       from wrongdoing. To be sure, the SEC originally endeav-
       ored to conform its disgorgement remedy to the common-
       law limitations in §78u(d)(5). Over the years, however,
       courts have occasionally awarded disgorgement in three
       main ways that test the bounds of equity practice: by order-
       ing the proceeds of fraud to be deposited in Treasury funds
       instead of disbursing them to victims, imposing joint-and-
       several disgorgement liability, and declining to deduct even
       legitimate expenses from the receipts of fraud.3 The SEC’s
       disgorgement remedy in such incarnations is in considera-
       ble tension with equity practices.
          Petitioners go further. They claim that this Court effec-
       tively decided in Kokesh that disgorgement is necessarily a
       penalty, and thus not the kind of relief available at equity.
       Brief for Petitioners 19–20, 22–26. Not so. Kokesh ex-
       pressly declined to pass on the question. 581 U. S., at ___,
       n. 3 (slip op., at 5, n. 3). To be sure, the Kokesh Court eval-
       uated a version of the SEC’s disgorgement remedy that
       seemed to exceed the bounds of traditional equitable prin-
       ciples. But that decision has no bearing on the SEC’s ability

       ——————
          3 See, e.g., SEC v. Clark, 915 F. 2d 439, 441, 454 (CA9 1990) (requiring

       defendant to disgorge the profits that his stockbroker made from unlaw-
       ful trades); SEC v. Brown, 658 F. 3d 858, 860–861 (CA8 2011) (per cu-
       riam) (ordering joint-and-several disgorgement of funds collected from
       investors and concluding that “ ‘the overwhelming weight of authority
       hold[s] that securities law violators may not offset their disgorgement
       liability with business expenses’ ”); SEC v. Contorinis, 743 F. 3d 296,
       304–306 (CA2 2014) (requiring defendant to disgorge benefits conferred
       on close associates).
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       to conform future requests for a defendant’s profits to the
       limits outlined in common-law cases awarding a wrong-
       doer’s net gains.
          The Government, for its part, contends that the SEC’s in-
       terpretation of the equitable disgorgement remedy has Con-
       gress’ tacit support, even if it exceeds the bounds of equity
       practice. Brief for Respondent 13–21. It points to the fact
       that Congress has enacted a number of other statutes refer-
       ring to “disgorgement.”
          That argument attaches undue significance to Congress’
       use of the term. It is true that Congress has authorized the
       SEC to seek “disgorgement” in administrative actions. 15
       U. S. C. §77h–1(e) (“In any cease-and-desist proceeding un-
       der subsection (a), the Commission may enter an order re-
       quiring accounting and disgorgement”). But it makes sense
       that Congress would expressly name the equitable powers
       it grants to an agency for use in administrative proceedings.
       After all, agencies are unlike federal courts where, “[u]nless
       otherwise provided by statute, all . . . inherent equitable
       powers . . . are available for the proper and complete exer-
       cise of that jurisdiction.” Porter, 328 U. S., at 398.
          Congress does not enlarge the breadth of an equitable,
       profit-based remedy simply by using the term “disgorge-
       ment” in various statutes. The Government argues that un-
       der the prior-construction principle, Congress should be
       presumed to have been aware of the scope of “disgorgement”
       as interpreted by lower courts and as having incorporated
       the (purportedly) prevailing meaning of the term into its
       subsequent enactments. Brief for Respondent 24. But
       “that canon has no application” where, among other things,
       the scope of disgorgement was “far from ‘settled.’ ” Arm-
       strong v. Exceptional Child Center, Inc., 575 U. S. 320, 330
       (2015).
          At bottom, even if Congress employed “disgorgement” as
       a shorthand to cross-reference the relief permitted by
       §78u(d)(5), it did not silently rewrite the scope of what the
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       SEC could recover in a way that would contravene limita-
       tions embedded in the statute. After all, such “statutory
       reference[s]” to a remedy grounded in equity “must, absent
       other indication, be deemed to contain the limitations upon
       its availability that equity typically imposes.” Great-West,
       534 U. S., at 211, n. 1. Accordingly, Congress’ own use of
       the term “disgorgement” in assorted statutes did not ex-
       pand the contours of that term beyond a defendant’s net
       profits—a limit established by longstanding principles of
       equity.
                                     III
          Applying the principles discussed above to the facts of
       this case, petitioners briefly argue that their disgorgement
       award is unlawful because it crosses the bounds of tradi-
       tional equity practice in three ways: It fails to return funds
       to victims, it imposes joint-and-several liability, and it de-
       clines to deduct business expenses from the award. Be-
       cause the parties focused on the broad question whether
       any form of disgorgement may be ordered and did not fully
       brief these narrower questions, we do not decide them here.
       We nevertheless discuss principles that may guide the
       lower courts’ assessment of these arguments on remand.
                                      A
          Section 78u(d)(5) restricts equitable relief to that which
       “may be appropriate or necessary for the benefit of inves-
       tors.” The SEC, however, does not always return the en-
       tirety of disgorgement proceeds to investors, instead depos-
       iting a portion of its collections in a fund in the Treasury.
       See SEC, Division of Enforcement, 2019 Ann. Rep. 16–17,
       https://www.sec.gov/files/enforcement-annual-report-
       2019.pdf. Congress established that fund in the Dodd-
       Frank Wall Street Reform and Consumer Protection Act for
       disgorgement awards that are not deposited in “disgorge-
       ment fund[s]” or otherwise “distributed to victims.” 124
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       Stat. 1844. The statute provides that these sums may be
       used to pay whistleblowers reporting securities fraud and
       to fund the activities of the Inspector General. Ibid. Here,
       the SEC has not returned the bulk of funds to victims,
       largely, it contends, because the Government has been un-
       able to collect them.4
         The statute provides limited guidance as to whether the
       practice of depositing a defendant’s gains with the Treasury
       satisfies the statute’s command that any remedy be “appro-
       priate or necessary for the benefit of investors.” The equi-
       table nature of the profits remedy generally requires the
       SEC to return a defendant’s gains to wronged investors for
       their benefit. After all, the Government has pointed to no
       analogous common-law remedy permitting a wrongdoer’s
       profits to be withheld from a victim indefinitely without be-
       ing disbursed to known victims. Cf. Root, 105 U. S., at 214–
       215 (comparing the accounting remedy to a breach-of-trust
       action, where a court would require the defendant to “re-
       fund the amount of profit which they have actually real-
       ized”).
         The Government maintains, however, that the primary
       function of depriving wrongdoers of profits is to deny them
       the fruits of their ill-gotten gains, not to return the funds to
       victims as a kind of restitution. See, e.g., SEC, Report Pur-
       suant to Section 308(C) of the Sarbanes Oxley Act of 2002,
       p. 3, n. 2 (2003) (taking the position that disgorgement is
       not intended to make investors whole, but rather to deprive
       wrongdoers of ill-gotten gains); see also 6 T. Hazen, Law of
       Securities Regulation §16.18, p. 8 (rev. 7th ed. 2016) (con-
       cluding that the remedial nature of the disgorgement rem-
       edy does not mean that it is essentially compensatory and

       ——————
         4 According to the Government, petitioners “transferred the bulk of

       their misappropriated funds to China, defied the district court’s order to
       repatriate those funds, and fled the United States.” Brief for Respondent
       36.
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       concluding that the “primary function of the remedy is to
       deny the wrongdoer the fruits of ill-gotten gains”). Under
       the Government’s theory, the very fact that it conducted an
       enforcement action satisfies the requirement that it is “ap-
       propriate or necessary for the benefit of investors.”
          But the SEC’s equitable, profits-based remedy must do
       more than simply benefit the public at large by virtue of
       depriving a wrongdoer of ill-gotten gains. To hold otherwise
       would render meaningless the latter part of §78u(d)(5). In-
       deed, this Court concluded similarly in Mertens when ana-
       lyzing statutory language accompanying the term “equita-
       ble remedy.” 508 U. S., at 253 (interpreting the term
       “appropriate equitable relief ”). There, the Court found that
       the additional statutory language must be given effect since
       the section “does not, after all, authorize . . . ‘equitable re-
       lief ’ at large.” Ibid. As in Mertens, the phrase “appropriate
       or necessary for the benefit of investors” must mean some-
       thing more than depriving a wrongdoer of his net profits
       alone, else the Court would violate the “cardinal principle
       of interpretation that courts must give effect, if possible, to
       every clause and word of a statute.” Parker Drilling Man-
       agement Services, Ltd. v. Newton, 587 U. S. ___, ___ (2019)
       (slip op., at 9) (internal quotation marks omitted).
           The Government additionally suggests that the SEC’s
       practice of depositing disgorgement funds with the Treas-
       ury may be justified where it is infeasible to distribute the
       collected funds to investors.5 Brief for Respondent 37. It is
       an open question whether, and to what extent, that practice
       nevertheless satisfies the SEC’s obligation to award relief
       ——————
          5 We express no view as to whether the SEC has offered adequate proof

       of failed attempts to return funds to investors here. To the extent that
       feasibility is relevant at all to equitable principles, we observe that lower
       courts are well equipped to evaluate the feasibility of returning funds to
       victims of fraud. See, e.g., SEC v. Lund, 570 F. Supp. 1397, 1404–1405
       (CD Cal. 1983) (appointing a magistrate judge to determine whether it
       was feasible to locate victims of financial wrongdoing).
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       “for the benefit of investors” and is consistent with the lim-
       itations of §78u(d)(5). The parties have not identified au-
       thorities revealing what traditional equitable principles
       govern when, for instance, the wrongdoer’s profits cannot
       practically be disbursed to the victims. But we need not
       address the issue here. The parties do not identify a specific
       order in this case directing any proceeds to the Treasury. If
       one is entered on remand, the lower courts may evaluate in
       the first instance whether that order would indeed be for
       the benefit of investors as required by §78u(d)(5) and con-
       sistent with equitable principles.
                                     B
          The SEC additionally has sought to impose disgorgement
       liability on a wrongdoer for benefits that accrue to his affil-
       iates, sometimes through joint-and-several liability, in a
       manner sometimes seemingly at odds with the common-law
       rule requiring individual liability for wrongful profits. See,
       e.g., SEC v. Contorinis, 743 F. 3d 296, 302 (CA2 2014) (hold-
       ing that a defendant could be forced to disgorge not only
       what he “personally enjoyed from his exploitation of inside
       information, but also the profits of such exploitation that he
       channeled to friends, family, or clients”); SEC v. Clark, 915
       F. 2d 439, 454 (CA9 1990) (“It is well settled that a tipper
       can be required to disgorge his tippee’s profits”); SEC v.
       Whittemore, 659 F. 3d 1, 10 (CADC 2011) (approving joint-
       and-several disgorgement liability where there is a close re-
       lationship between the defendants and collaboration in ex-
       ecuting the wrongdoing).
          That practice could transform any equitable profits-fo-
       cused remedy into a penalty. Cf. Marshall, 15 Wall., at 149.
       And it runs against the rule to not impose joint liability in
       favor of holding defendants “liable to account for such prof-
       its only as have accrued to themselves . . . and not for those
       which have accrued to another, and in which they have no
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       participation.” Belknap, 161 U. S., at 25–26; see also Eliz-
       abeth v. Pavement Co., 97 U. S. 126 (1878).
          The common law did, however, permit liability for part-
       ners engaged in concerted wrongdoing. See, e.g., Ambler,
       20 Wall., at 559. The historic profits remedy thus allows
       some flexibility to impose collective liability. Given the
       wide spectrum of relationships between participants and
       beneficiaries of unlawful schemes—from equally culpable
       codefendants to more remote, unrelated tipper-tippee ar-
       rangements—the Court need not wade into all the circum-
       stances where an equitable profits remedy might be puni-
       tive when applied to multiple individuals.
          Here, petitioners were married. 754 Fed. Appx. 505; 262
       F. Supp. 3d, at 960–961. The Government introduced evi-
       dence that Liu formed business entities and solicited in-
       vestments, which he misappropriated. Id., at 961. It also
       presented evidence that Wang held herself out as the pres-
       ident, and a member of the management team, of an entity
       to which Liu directed misappropriated funds. Id., at 964.
       Petitioners did not introduce evidence to suggest that one
       spouse was a mere passive recipient of profits. Nor did they
       suggest that their finances were not commingled, or that
       one spouse did not enjoy the fruits of the scheme, or that
       other circumstances would render a joint-and-several dis-
       gorgement order unjust. Cf. SEC v. Hughes Capital Corp.,
       124 F. 3d 449, 456 (CA3 1997) (finding that codefendant
       spouse was liable for unlawful proceeds where they funded
       her “lavish lifestyle”). We leave it to the Ninth Circuit on
       remand to determine whether the facts are such that peti-
       tioners can, consistent with equitable principles, be found
       liable for profits as partners in wrongdoing or whether in-
       dividual liability is required.
                                  C
         Courts may not enter disgorgement awards that exceed
       the gains “made upon any business or investment, when
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       both the receipts and payments are taken into the account.”
       Goodyear, 9 Wall., at 804; see also Restatement (Third) §51,
       Comment h, at 216 (reciting the general rule that a defend-
       ant is entitled to a deduction for all marginal costs incurred
       in producing the revenues that are subject to disgorge-
       ment). Accordingly, courts must deduct legitimate ex-
       penses before ordering disgorgement under §78u(d)(5). A
       rule to the contrary that “make[s] no allowance for the cost
       and expense of conducting [a] business” would be “incon-
       sistent with the ordinary principles and practice of courts
       of chancery.” Tilghman, 125 U. S., at 145–146; cf. SEC v.
       Brown, 658 F. 3d 858, 861 (CA8 2011) (declining to deduct
       even legitimate expenses like payments to innocent third-
       party employees and vendors).
         The District Court below declined to deduct expenses on
       the theory that they were incurred for the purposes of fur-
       thering an entirely fraudulent scheme. It is true that when
       the “entire profit of a business or undertaking” results from
       the wrongdoing, a defendant may be denied “inequitable de-
       ductions” such as for personal services. Root, 105 U. S., at
       203. But that exception requires ascertaining whether ex-
       penses are legitimate or whether they are merely wrongful
       gains “under another name.” Goodyear, 9 Wall., at 803. Do-
       ing so will ensure that any disgorgement award falls within
       the limits of equity practice while preventing defendants
       from profiting from their own wrong. Root, 105 U. S., at
       207.
         Although it is not necessary to set forth more guidance
       addressing the various circumstances where a defendant’s
       expenses might be considered wholly fraudulent, it suffices
       to note that some expenses from petitioners’ scheme went
       toward lease payments and cancer-treatment equipment.
       Such items arguably have value independent of fueling a
       fraudulent scheme. We leave it to the lower court to exam-
       ine whether including those expenses in a profits-based
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       remedy is consistent with the equitable principles underly-
       ing §78u(d)(5).
                              *     *     *
         For the foregoing reasons, we vacate the judgment below
       and remand the case to the Ninth Circuit for further pro-
       ceedings consistent with this opinion.
                                                   It is so ordered.
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                             THOMAS, J., dissenting

       SUPREME COURT OF THE UNITED STATES
                                 _________________

                                 No. 18–1501
                                 _________________


              CHARLES C. LIU, ET AL., PETITIONERS v.
            SECURITIES AND EXCHANGE COMMISSION
        ON WRIT OF CERTIORARI TO THE UNITED STATES COURT OF
                   APPEALS FOR THE NINTH CIRCUIT
                                [June 22, 2020]

         JUSTICE THOMAS, dissenting.
         The Court correctly declines to affirm the Ninth Circuit’s
       decision upholding the District Court’s disgorgement order,
       but I disagree with the Court’s decision to vacate and re-
       mand for the lower courts to “limi[t]” the disgorgement
       award. Ante, at 1. Disgorgement can never be awarded un-
       der 15 U. S. C. §78u(d)(5). That statute authorizes the Se-
       curities and Exchange Commission (SEC) to seek only “eq-
       uitable relief that may be appropriate or necessary for the
       benefit of investors,” and disgorgement is not a traditional
       equitable remedy. Thus, I would reverse the judgment of
       the Court of Appeals.
                                       I
         The Securities Exchange Act of 1934, as amended in
       2005, allows the SEC to request “equitable relief ” in federal
       district court against those who violate federal securities
       laws. §78u(d)(5). According to our usual interpretive con-
       vention, “equitable relief ” refers to forms of equitable relief
       available in the English Court of Chancery at the time of
       the founding. Because disgorgement is a creation of the
       20th century, it is not properly characterized as “equitable
       relief,” and, hence, the District Court was not authorized to
       award it under §78u(d)(5).
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                                      A
          “This Court has never treated general statutory grants of
       equitable authority as giving federal courts a freewheeling
       power to fashion new forms of equitable remedies.” Trump
       v. Hawaii, 585 U. S. ___, ___ (2018) (THOMAS, J., concur-
       ring) (slip op., at 3). “Rather, it has read such statutes as
       constrained by ‘the body of law which had been trans-
       planted to this country from the English Court of Chancery’
       in 1789.” Ibid. (quoting Guaranty Trust Co. v. York, 326
       U. S. 99, 105 (1945)). As Justice Story put it, “the settled
       doctrine of this court is, that the remedies in equity are to
       be administered . . . according to the practice of courts of
       equity in [England], as contradistinguished from that of
       courts of law; subject, of course to the provisions of the acts
       of congress.” Boyle v. Zacharie & Turner, 6 Pet. 648, 654
       (1832).
          We have interpreted other statutes according to this “set-
       tled doctrine.” For example, we have read the term “equi-
       table relief ” in the Employee Retirement Income Security
       Act of 1974 to refer to “those categories of relief that were
       typically available in equity.” Mertens v. Hewitt Associates,
       508 U. S. 248, 256 (1993) (emphasis deleted). We have done
       the same for the Judiciary Act of 1789, see, e.g., Grupo Mex-
       icano de Desarrollo, S. A. v. Alliance Bond Fund, Inc., 527
       U. S. 308, 318–319 (1999), and for provisions in the Bank-
       ruptcy Code, see Taggart v. Lorenzen, 587 U. S. ___, ___
       (2019) (slip op., at 5). There is nothing about §78u(d)(5)
       that counsels departing from this approach.
                                       B
           Disgorgement is not a traditional form of equitable relief.
       Rather, cases, legal dictionaries, and treatises establish
       that it is a 20th-century invention.
           As an initial matter, it is not even clear what “disgorge-
       ment” means. The majority frankly acknowledges its
       “ ‘ “protean character.” ’ ” Ante, at 7 (quoting Petrella v.
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                               THOMAS, J., dissenting

       Metro-Goldwyn-Mayer, Inc., 572 U. S. 663, 688, n. 1 (2014)).
       The difficulty of defining this supposedly traditional rem-
       edy is the first sign that it is not a historically recognized
       equitable remedy. In contrast, an accounting for profits, or
       accounting—a distinct form of relief that the majority
       groups with disgorgement—has a well-accepted definition:
       It compels a defendant to account for, and repay to a plain-
       tiff, those profits that belong to the plaintiff in equity. Bray,
       Fiduciary Remedies, in The Oxford Handbook of Fiduciary
       Law 449 (E. Criddle, P. Miller, & R. Sitkoff eds. 2019). The
       definition of disgorgement, after today’s decision, is a rem-
       edy that compels each defendant to pay his profits (and
       sometimes, though it is not clear when, all of his codefend-
       ants’ profits) to a third-party Government agency (which
       sometimes, though it is not clear when, passes the money
       on to victims). This remedy has no basis in historical prac-
       tice.
          No published case appears to have used the term “dis-
       gorgement” to refer to equitable relief until the 20th cen-
       tury. Even then, the earliest cases use the word in a “non-
       technical” sense, Brief for Law Professors as Amici Curiae
       22, to describe the action a defendant must take when a
       party is awarded a traditional equitable remedy such as an
       accounting for profits or an equitable lien.1 For example, in
       Byrd v. Mullinix, 159 Ark. 310, 251 S. W. 871 (1923), the
       Supreme Court of Arkansas affirmed the imposition of an
       equitable lien to prevent a debtor from “put[ting] the money
       in property which was itself beyond the reach of creditors,
       and to compel its disgorgement,” id., at 316–317, 251 S. W.,
       at 872. Likewise, in Armstrong v. Richards, 128 Fla. 561,
       175 So. 340 (1937), the Supreme Court of Florida referred
       to “the right of the taxpayer to require an accounting from

       ——————
         1 An equitable lien is imposed on a defendant’s property “as security

       for a claim on the ground that otherwise the former would be unjustly
       enriched.” Restatement of Restitution §161, p. 650 (1936).
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                             THOMAS, J., dissenting

       and disgorgement by public officers and those in collusion
       with them,” id., at 564, 175 So., at 341. In these cases, the
       term “disgorgement” colloquially described what a defend-
       ant was ordered to do, not the remedy itself.
          By the 1960s, published opinions began to use “disgorge-
       ment” to refer to a remedy in the administrative context. In
       NLRB v. Local 176, 276 F. 2d 583 (CA1 1960), the agency
       had “applied its . . . remedy of disgorgement of dues, requir-
       ing the union to refund to every member who had obtained
       employment on the Company project the dues which he had
       paid,” id., at 586 (footnote omitted). The court declined to
       enforce this part of the agency’s order, but not because dis-
       gorgement was an impermissible form of relief. Instead, it
       found that, in the circumstances of the case, disgorgement
       “seem[ed] . . . to be an ex post facto penalty.” Ibid.; see also
       NLRB v. Local 111, 278 F. 2d 823, 825 (CA1 1960) (enforc-
       ing a disgorgement order from the agency).
          By the 1970s, courts started using the term “disgorge-
       ment” to describe a judicial remedy in its own right. When
       the SEC initially sought this kind of relief under the Secu-
       rities Exchange Act in SEC v. Texas Gulf Sulphur Co., 312
       F. Supp. 77 (SDNY 1970), the District Court called it “res-
       titution,” id., at 93, and the Court of Appeals called it “[r]es-
       titution of [p]rofits,” SEC v. Texas Gulf Sulphur Co., 446
       F. 2d 1301, 1307 (CA2 1971) (emphasis deleted). Courts
       soon substituted the label “disgorgement.” SEC v. Manor
       Nursing Centers, Inc., 458 F. 2d 1082, 1105 (CA2 1972);
       SEC v. Shapiro, 349 F. Supp. 46, 55 (SDNY 1972).
          The late date of these cases is sufficient reason to reject
       the argument that disgorgement is a traditional equitable
       remedy. But it is also telling that, when the SEC began
       seeking this relief, it did so without any statutory authority.
       Prior to 2005, the SEC lacked the power even to seek “equi-
       table relief ” in cases like this one. See §305(b), 116 Stat.
       779 (amending the Securities Exchange Act). The District
       Court in Texas Gulf Sulphur purported to “imply [a] new
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       remed[y],” based on its “inherent equity power” and a belief
       that “the congressional purpose is effectuated by so doing.”
       312 F. Supp., at 91. But the sources it cited are dubious.
       The court relied on J. I. Case Co. v. Borak, 377 U. S. 426
       (1964), a case about implied causes of action that we have
       since abrogated. See Alexander v. Sandoval, 532 U. S. 275,
       287 (2001). It also relied on a securities law treatise that
       advocated for what it called “restitution” but admitted that
       district courts had no express authority to grant the remedy
       and that the SEC had never sought this remedy in the past.
       3 L. Loss, Securities Regulation 1827–1828 (1961). It is
       functionally this same unauthorized remedy that the SEC
       and courts now call “disgorgement.” The details have var-
       ied over time, but the lineage is clear: Disgorgement is “a
       relic of the heady days” of courts inserting judicially created
       relief into statutes. Correctional Services Corp. v. Malesko,
       534 U. S. 61, 75 (2001) (Scalia, J., concurring).
         Disgorgement as a remedy in its own right is also absent
       from legal publications until the 20th century. Leading le-
       gal dictionaries did not define the term until the turn of the
       20th century. See, e.g., Merriam-Webster’s Dictionary of
       Law 143 (1996); Black’s Law Dictionary 480 (7th ed. 1999).
       Nor was disgorgement included in the first Restatement of
       Restitution, adopted in 1936. The remedy does not appear
       until the Third Restatement, adopted in 2010, which states
       that “[r]estitution remedies” that seek “to eliminate profit
       from wrongdoing . . . are often called ‘disgorgement’ or ‘ac-
       counting.’ ” 2 Restatement (Third) of Restitution and Un-
       just Enrichment §51(4), p. 203. But “Restatement” is an
       inapt title for this edition of the treatise. Like many of the
       modern Restatements, its “authors have abandoned the
       mission of describing the law, and have chosen instead to
       set forth their aspirations for what the law ought to be.”
       Kansas v. Nebraska, 574 U. S. 445, 475 (2015) (Scalia, J.,
       concurring in part and dissenting in part). The inclusion of
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       “disgorgement” in the Third Restatement, which the major-
       ity cites in support of its holding, ante, at 6, represents a
       “ ‘novel extension’ ” of equity. Kansas, supra, at 483
       (THOMAS, J., concurring in part and dissenting in part)
       (quoting Roberts, Restitutionary Disgorgement for Oppor-
       tunistic Breach of Contract and Mitigation of Damages, 42
       Loyola (LA) L. Rev. 131, 134 (2008)).
          I acknowledge that this Court has referred to disgorge-
       ment as an equitable remedy in some of its prior decisions.
       See, e.g., Feltner v. Columbia Pictures Television, Inc., 523
       U. S. 340, 352 (1998). But these opinions merely referred
       to the term in passing without considering the question in
       depth. The history is clear: Disgorgement is not a form of
       relief that was available in the English Court of Chancery
       at the time of the founding.
                                      C
          The majority’s treatment of disgorgement as an equitable
       remedy threatens great mischief. The term disgorgement
       itself invites abuse because it is a word with no fixed mean-
       ing. The majority sees “parallels” between accounting and
       disgorgement, ante, at 2, n. 1, but parallels are by definition
       not the same. Even if they were, the traditional remedy of
       an accounting—which compels a party to repay profits that
       belong to a plaintiff—has important conceptual limitations
       that disgorgement does not. An accounting connotes the re-
       lationship between a plaintiff and a defendant. In the
       words of one scholar, “it is an accounting by A to B.” Bray,
       Fiduciary Remedies, at 454. But disgorgement connotes no
       relationship and so is not naturally limited to net profits
       and compensation of victims. It simply “is A disgorging.”
       Ibid. Further, the traditional remedy of a constructive
       trust2 or an equitable lien requires that the “money or prop-

       ——————
         2 A constructive trust compels a defendant “holding title to property . . .

       to convey it to another on the ground that he would be unjustly enriched
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       erty identified as belonging in good conscience to the plain-
       tiff . . . clearly be traced to particular funds or property in
       the defendant’s possession.” Great-West Life & Annuity Ins.
       Co. v. Knudson, 534 U. S. 204, 213 (2002). Disgorgement
       reaches further because it has no tracing requirement. By
       using a word with no history in equity jurisprudence, the
       SEC and courts have made it possible to circumvent the
       careful limitations imposed on other equitable remedies.
          One need look no further than the SEC’s use of disgorge-
       ment to see the pitfalls of the majority’s acquiescence in its
       continued use as a remedy. The order in Texas Gulf Sul-
       phur did not depart too far from equitable principles. The
       award was limited to the defendants’ net profits and the
       funds were held in escrow and were at least partly available
       to compensate victims, 446 F. 2d, at 1307. It did not take
       long, however, for a district court to order a defendant to
       turn over both his profits and the investment “income
       earned on the proceeds.” Manor Nursing Centers, 458
       F. 2d, at 1105. And in the case before us today, just a half
       century later, disgorgement has expanded even further.
       The award is not limited to net profits or even money pos-
       sessed by an individual defendant when it is imposed
       jointly and severally. See ante, at 5. And not only is it not
       guaranteed to be used to compensate victims, but the impo-
       sition of over $26 million in disgorgement and approxi-
       mately $8 million in civil monetary penalties in this case
       seems to ensure that victims will be unable to recover any-
       thing in their own actions. As long as courts continue to
       award “disgorgement,” both courts and the SEC will con-
       tinue to have license to expand their own power.
          The majority’s decision to tame, rather than reject, dis-
       gorgement will also cause confusion in administrative prac-


       ——————
       if he were permitted to retain it.” Restatement of Restitution §160, at
       640–641.
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       tice. As the majority explains, the SEC is expressly author-
       ized to impose “ ‘disgorgement’ ” in its in-house tribunals.
       Ante, at 13 (quoting 15 U. S. C. §77h–1(e)). It is unclear
       whether the majority’s new restrictions on disgorgement
       will apply to these proceedings as well. If they do not, the
       result will be that disgorgement has one meaning when the
       SEC goes to district court and another when it proceeds in-
       house.
          More fundamentally, by failing to recognize that the
       problem is disgorgement itself, the majority undermines
       our entire system of equity. The majority believes that in-
       sistence on the traditional rules of equity is unnecessarily
       formalistic, ante, at 3, n. 1, but the Founders accepted fed-
       eral equitable powers only because those powers depended
       on traditional forms. The Constitution was ratified on the
       understanding that equity was “a precise legal system”
       with “specific equitable remed[ies].” Missouri v. Jenkins,
       515 U. S. 70, 127 (1995) (THOMAS, J., concurring). “Alt-
       hough courts of equity exercised remedial ‘discretion,’ that
       discretion allowed them to deny or tailor a remedy despite
       a demonstrated violation of a right, not to expand a remedy
       beyond its traditional scope.” Trump, 585 U. S., at ___
       (THOMAS, J., concurring) (slip op., at 5). The majority, while
       imposing some limits, ultimately permits courts to continue
       expanding equitable remedies. I would simply hold that the
       phrase “equitable relief ” in §78u(d)(5) does not authorize
       disgorgement.
                                    II
         After holding that disgorgement is equitable relief, the
       majority remands for the lower courts to reconsider the dis-
       gorgement order in this case. If the majority is going to ac-
       cept “disgorgement” as an available remedy, it should at
       least limit the order to be consistent with the traditional
       rules of equity. First, the order should be limited to each
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       petitioner’s profits. Second, the order should not be im-
       posed jointly and severally. Third, the money paid by peti-
       tioners should be used to compensate petitioners’ victims.
                                       A
           First, the disgorgement order should be limited to “the
       profits actually made” by each petitioner. Mowry v. Whit-
       ney, 14 Wall. 620, 649 (1872); see also ante, at 11, 18–20.
       Defendants in equity traditionally may deduct “allowances
       . . . for the cost and expense of the business” from the
       amount of the award. Root v. Railway Co., 105 U. S. 189,
       215 (1882); see also Callaghan v. Myers, 128 U. S. 617, 665
       (1888); Elizabeth v. Pavement Co., 97 U. S. 126, 139 (1878);
       Rubber Co. v. Goodyear, 9 Wall. 788, 804 (1870). The ra-
       tionale behind this rule is that “it is not the function of
       courts of equity to administer punishment.” Bangor Punta
       Operations, Inc. v. Bangor & Aroostook R. Co., 417 U. S.
       703, 717–718, n. 14 (1974) (internal quotation marks omit-
       ted); see also 2 J. Story, Commentaries on Equity Jurispru-
       dence §1494, p. 819 (13th ed. 1886). Here, however, the
       District Court reasoned that “it would be ‘unjust to permit
       the defendants to offset against the investor dollars they
       received the expenses of running the very business they cre-
       ated to defraud those investors into giving the defendants
       the money in the first place.’ ” 754 Fed. Appx. 505, 509 (CA9
       2018) (quoting SEC v. J. T. Wallenbrock & Assocs., 440
       F. 3d 1109, 1114 (CA9 2006)). On remand, the lower courts
       should limit the award to each petitioner’s profits.
                                     B
         Second, and relatedly, the disgorgement order should not
       be imposed jointly and severally. The majority analogizes
       disgorgement to accounting, ante, at 6, but this Court has
       rejected joint and several liability in actions for an account-
       ing. Elizabeth, supra, at 139–140; Keystone Mfg. Co. v. Ad-
       ams, 151 U. S. 139, 148 (1894); Belknap v. Schild, 161 U. S.
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       10, 25–26 (1896). The majority instructs the lower courts
       to determine whether petitioners were “partners in wrong-
       doing,” apparently based on a case about the liability of
       partners. Ante, at 10, 18 (citing Ambler v. Whipple, 20 Wall.
       546 (1874)). But the liability in that case was premised on
       the law of partnership, and nothing indicates that petition-
       ers here were legal partners. The joint and several order in
       this case is thus at odds with traditional equitable rules.3
                                     C
          Finally, the award should be used to compensate victims,
       not to enrich the Government. Plaintiffs in equity may
       claim “that which, ex aequo et bono [according to what is
       equitable and good], is theirs, and nothing beyond this.”
       Livingston v. Woodworth, 15 How. 546, 560 (1854). The
       money ordered to be paid as disgorgement in no sense be-
       longs to the Government, and the majority cites no author-
       ity allowing a Government agency to keep equitable relief
       for a wrong done to a third party. Requiring the SEC to
       only “generally” compensate victims, ante, at 15, is incon-
       sistent with traditional equitable principles.
          Worse still from a practical standpoint, the majority pro-
       vides almost no guidance to the lower courts about how to
       resolve this question on remand. Even assuming that dis-
       gorgement is “equitable relief” for purposes of §78u(d)(5)
       and that the Government may sometimes keep the money,
       ——————
          3 For its part, respondent cites the joint and several liability in Jackson

       v. Smith, 254 U. S. 586, 589 (1921), but the remedy in that case was a
       constructive trust, see Smith v. Jackson, 48 App. D. C. 565, 576 (1919).
       As explained above, there is no tracing requirement in the District
       Court’s order as would be required in a case of constructive trust. Supra,
       at 6–7. The Court also allowed joint and several liability in Belford v.
       Scribner, 144 U. S. 488 (1892), a copyright case. But it based its holding
       on the fact that, under the relevant copyright statute, “both the printer
       and the publisher are equally liable to the owner of the copyright for an
       infringement.” Id., at 507; see also Washingtonian Publishing Co. v.
       Pearson, 140 F. 2d 465, 467 (CADC 1944).
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       the Court should at least do more to identify the circum-
       stances in which the Government may keep the money. In-
       stead, the Court asks lower courts to improvise a solution.
       If past is prologue, this uncertainty is sure to create oppor-
       tunities for the SEC to continue exercising unlawful power.
                              *     *    *
         I would reverse for the straightforward reason that dis-
       gorgement is not “equitable relief ” within the meaning of
       §78u(d)(5). Because the majority acquiesces in the contin-
       ued use of disgorgement under that statute, I respectfully
       dissent.
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NAI FINANCIAL STATEMENT TO
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                                                                                               DRAFT

                              ASSET RESTRICTION AGREEMENT



        In consideration of the Securities and Exchanges Commission’s agreement to stay

enforcement of the $28,964,571 in disgorgement and prejudgment interest and the $2.5 million

in penalties, awarded by the June 2, 2020 Final Judgment entered against Navellier &

Associates, Inc. (“NAI”) and Louis Navellier jointly and severally (except penalties which are

several) in SEC v. Navellier & Associates, Inc. et al No. 17-cv-11633, (a copy of which is

attached and made a part hereof) NAI and Louis Navellier (collectively “Defendants”) agree not

to further encumber their assets against which enforcement could be had (“Restricted Assets”),

or to sell, transfer, gift or otherwise dispose of or alienate said Restricted Assets as set forth

herein. NAI and Louis Navellier further agree as a condition of this agreement to post a

supersedeas bond or equivalent security acceptable to the SEC in the amount of $2,800,000.



The Defendants shall comply with each of the following conditions:

(1) Defendants will do everything in their power to maintain the value of all their Restricted

Assets against which enforcement could be had by the SEC and prevent a decrease in the value

thereof.

(2) Defendants shall not pay any notes, debts, or other obligations to one another. Louis

Navellier agrees to waive and not receive salary, or compensation from NAI and Mr. Navellier

further agree to waive and not receive compensation for NAI’s management of the

Navellier/Dial High Income Opportunities Series Unit Investment Trust during the term of this

agreement.
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(3) Defendants shall make no financial commitments or expenditures for capital improvements

or additions in connection with NAI without court approval.

(4) Defendants shall not pay any debts in whole or part except to trade creditors in the ordinary

course of business and debt obligations as set forth on the financial statements heretofore

furnished to the SEC.

D. SEC shall have the right to select an independent auditor to inspect any and all records of the

corporate defendant NAI in order to ascertain whether the Defendants are complying with

provisions of this Agreement and Order and shall receive monthly profit and loss statements and

balance sheets from the NAI defendant within two weeks following the end of each month

during the effective period of this Agreement and Order.

E. In the event of changed circumstances which substantially reduce the value of the Restricted

Assets, the SEC has the right to request the Court to increase the security which must be

escrowed or, in the event that additional security is not available, to dissolve the stay of

execution of judgment, or enter another appropriate order.

F. All of the foregoing limitations and escrow arrangements will terminate with the filing of a

final decision of the Court of Appeals, or court of last resort.




NOW THEREFORE, the parties hereby stipulate and agree that NAI may continue to make

payments and engage in other activities in the ordinary course of business, including payment of

payroll costs and legal costs. NAI may not pay any shareholder dividends, make asset transfers

outside the United States or Canada that are not in the ordinary course of business, acquire assets

outside the scope of the ordinary course of business, or pay compensation outside the scope of

ordinary business. Louis Navellier will not be paid any salary or other compensation from NAI
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until a final decision on appeal is rendered by a court of last resort or the June 2, 2020 Final

Judgment is reversed, vacated or modified. NAI must seek prior agreement from SEC or

approval from the Court should it seek any exceptions regarding any such transactions. Apart

from legal costs as they come due and ordinary-course payroll costs, NAI will also seek prior

agreement from SEC or approval from the Court for any outbound payment transactions not in

the ordinary course of business involving more than $25,000.

                                               SECURITIES AND EXCHANGE COMMISSION

Dated:                                                 By___________________




                                                       Louis Navellier

Dated:                                                 By___________________




                                                       Navellier & Associates, Inc.

Dated:                                                 By___________________
